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UN|TED STATES BANKRUPTCY COURT
EASTERN D|STR|CT OF NEW YORK

 

|n re:

KAE-PUN Y| a/k/a
KAEPUN Yl a/k/a KATHY Yl, Chapter 7
Case No. 14-75101 (REG)
Debtor.
X

 

ORDER D|RECT|NG DEBTOR TO TURN OVER
POSSESS|ON OF THE COOPERAT|VE APARTMENT
LOCATED AT 2_449 UN|ON BOULEVARD. APT._§BA. IS_LLP, NEW YORK

Upon the motion (the “Motion”) of Kenneth P. Si|verman, Esq., the chapter 7 trustee (the
“Trustee"), of the estate of Kae-Pun Yi a/k/a Kaepun Yi a/k/a Kathy Yi (the “Debtor”), by and
through his counse|, Si|vermanAcampora LLP, seeking the entry of an order (i) directing the
Debtor to turn over to the Trustee the Debtor's cooperative apartment located at, and known as,
2449 Union Boulevard, Apt. 29A, |slip, NeW York (the “Property“) With keys pursuant to 11
U.S.C. §§105(a), 541 and §542(a); (ii) authorizing the Trustee, under the supervision and with
the assistance of the United States I\/larshal, to take all necessary steps to take possession of
the Property in the event the Debtor does not turn over the Property in a timely manner; and (iii)
granting such other and further relief as this Court deems just and proper; and that notice and a
copy of the l\/lotion and proposed order having been served on the Debtorl the Office of the
United States Trustee, and all entities having filed a Notice of Appearance in the Debtor's case;
and no objections to the Motion having been interposed thereto; and upon the hearing
conducted by the Court on June 12, 2017; and the Court having found that the entry of this
order is fair and reasonable and in the best interest of the estate and its creditors; and sufficient
cause having been shown therefore; and no additional notice being necessary or required; and
after due deliberation by this Court; and

|T APPEAR|NG, that this Court has jurisdiction to consider the l\/lotion and relief

requested therein pursuant to 28 U.S.C. §§157 and 1334;

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lT FURTHER APPEAR|NGl that the Debtor is an entity from whom the Trustee can
obtain a turnover of property of the Debtor’s estate;

|F FURTHER APPEAR|NGl that the Debtor owns the Property;

|T FURTHER APPEAR|NG, that the Debtor remains in possession and control of the
Property;

lT FURTHER APPEAR|NG, that the Debtor continues to use and occupy the Property;

|T FURTHER APPEAR|NG, that subject to approval of the Court, the Trustee is in the
process of selling the Property to a successful bidder at a public sale of the Property to be held
on a date to be determined (the “Pub|ic Sale”), at a location to be determined, free and clear of
all liens, encumbrances, claims and liabilities on the Property, and pursuant to the terms and
conditions set forth in the Terms and Conditions of Sale, which terms include the delivery of the
Property vacant at closing, subject to closing (the “Closing") after entry of an order approving
the results of the Pub|ic Sale;

IT FURTHER APPEAR|NGl that notice and a copy of the l\/lotion having been served on:
(i) the Debtor; (ii) the Offlce of the United States Trustee; and (iii) all entities having filed a
Notice of Appearance in the Debtor’s case;

lT FURTHER APPEAR|NGl that no other or further notices need be given;

|T FURTHER APPEAR|NG, that service of the l\/lotion and notice thereof constitutes
good and sufficient notice as evidenced by the Aftidavit of Service, dated May 8, 2017, and filed
with the Court;

AND UPON the lVlotion and the record of the Hearing held before this Court on June 12,
2017 (the “Hearing”), the transcript of which is incorporated by reference, and after due
deliberation having been had and no objections or other responses having been filed to the

Motion, and good and sufficient cause having been shown;

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lT ls HEREBY FouND THAT1,
1. The Court has jurisdiction over the l\/|otion pursuant to 28 U.S.C. §§157 and 1334

and this matter is a core proceeding under 28 U.S.C. 157(b)(2)(A), (E) and (O). Venue of this
Chapter 7 case and the lV|otion in this district is proper under 28 U.S.C. §§1408 and 1409.

2. The statutory predicates for the relief sought in the Motion are Sections 105(a)
and 542 of the Bankruptcy Code.

3. The Property is property of the Debtor’s estate under Section 541 of the
Bankruptcy Code.

4. Proper, timely, adequate and sufficient notice of the lV|otion has been provided in
accordance with Bankruptcy Ru|e 2002, which notice adequately described the nature of the
Hearing and the relief requested in the Motion and which notice was good and sufficient, and
appropriate under the particular circumstances and no other or further notice of the Motion or of
the entry of this Order is required.

5. A reasonable opportunity to object or be heard with respect to the Motion and the
relief requested has been afforded to all interested persons and entities, including: (i) the
Debtor; (ii) the Office of the United States Trustee; and (iii) all entities having filed a notice of
appearance in the Debtor’s case.

NOW, THEREFORE, |T lS HEREBY ORDERED, ADJUDGED AND DECREED that:

1. The lV|otion is hereby granted as set forth herein.

2. All objections to the l\/lotion or the relief requested therein, if any, that have not
been withdrawn, waived, or settledl and all reservations of rights included therein, are overruled.

3. Upon the service on the Debtor by e-mail, facsimile transmission, or hand
delivery of written notice of a C|osing Date (the "Notice of C|osing”), the Debtor is directed to
and shall turn over the Property and keys to the Trustee and remove her personal property from
the Property no later than seven (7) days prior to the C|osing Date (the “Turnover Dead|ine”),

provided that the Trustee shall serve the Notice of C|osing on the Debtor and file same with the

Court no less than twenty-one (21) days before the C|osing Date.

 

1 Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as Hnding of
fact when appropriate. See Ru|e 7052 of the Federa| Rules of Bankruptcy Procedure.

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4. |f the Debtor does not turn over the Property and keys to the Trustee by
expiration of the Turnover Deadline, the Trustee is hereby authorized to file with the Court an
affidavit of such non-compliance and serve same by e-mai|, facsimile transmission, hand
delivery, or posting on the door of the Property and mailing a copy to the address of the
Property, on the Debtor, and the Office of the United States Trusteel and submit an order, on
notice by e-mail, facsimile transmission, hand deliveryl or posting on the door of the Property
and mailing a copy to the address of the Property, on the Debtor, and the Office of the United
States Trustee, providing for the authorization of the Trusteel under the supervision and with the
assistance of the United States l\/|arshall to take all necessary steps to take possession of the
Property (the “U.S. Marshal Order”) in a form substantially similar to the form annexed to the
Motion as Exhibit B, with the U.S. Marshal Order to be effective no less than seven (7) days

after entry of that order by the Court.

5. Kenneth P. Silvermanl Esq., in his capacity as the chapter 7 trustee, be, and
hereby is, authorized and directed to take such steps, execute such documents and expend
such funds as may be necessary to effectuate and implement the terms and conditions of this

Order.

 

Robert E. Grossman
United States Bankruptcy Judge

Dated: Central Islip, New York
June 13, 2017

 

